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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-00953-GPG
(The above civil action number must appear on all future papers
  sent to the Court in this action. Failure to include this number
  may result in a delay in the consideration of your claims.)


BRANDON MAURICE FORD,

       Plaintiff,

v.

JEFFERSON COUNTY SHERIFF’S OFFICE,
INMATE SERVICES,
SHERIFF JEFFERSON COUNTY, and
COUNTY OF GOLDEN, COLORADO,


       Defendants.


               ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


       Plaintiff Brandon Maurice Ford currently is detained at the Jefferson County

Detention Facility in Golden, Colorado. On April 23, 2018, Plaintiff submitted a Prisoner

Complaint, ECF No. 1, and a Prisoner’s Motion and Affidavit for Leave to Proceed

Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus Action, ECF No. 3. As part of the

Court=s review pursuant to D.C.COLO.LCivR 8.1(b), the Court has determined that the

submitted documents are deficient as described in this Order. Plaintiff will be directed to

cure the following if he wishes to pursue his claims. Any papers that Plaintiff files in

response to this Order must include the civil action number on this Order.




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28 U.S.C. ' 1915 Motion and Affidavit:

(1)           is not submitted
(2)           is missing affidavit
(3)    X      is missing a certified prisoner=s trust fund statement for the 6-month period
              immediately preceding this filing
(4)           trust fund account statement is missing certification by authorized prison
              official
(5)           is missing required financial information
(6)    X      is missing authorization to calculate and disburse filing fee payments
(7)           is missing an original signature by the prisoner
(8)    X      is not on proper form (Must use the Court-approved form used in seeking
              leave to proceed pursuant to 28 U.S.C. § 1915 in a prisoner complaint
              action.)
(9)           names in caption do not match names in caption of complaint, petition or
              habeas application
(10)          other:

Complaint or Petition:
(11)        is not submitted
(12)        is not on proper form
(13)        is missing an original signature by the Plaintiff
(14)        is incomplete
(15)        uses et al. instead of listing all parties in caption
(16)        names in caption do not match names identified in Section III. of the
            Complaint
(17)        address must be provided for defendant under Parties section of Complaint
            form
(18)        other:

Accordingly, it is

       ORDERED that Plaintiff cure the deficiencies designated above within thirty

days from the date of this Order. Any papers that Plaintiff files in response to this

Order must include the civil action number on this Order. It is

       FURTHER ORDERED that Plaintiff shall obtain the Prisoner’s Motion and Affidavit

for Leave to Proceed Pursuant to 28 U.S.C. § 1915 form (Revised October 1, 2012) (with

the assistance of his case manager or the facility’s legal assistant), along with the

applicable instructions, at www.cod.uscourts.gov, for use in curing the deficiencies. It is



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       FURTHER ORDERED that if Plaintiff fails to cure the designated deficiencies

within thirty days from the date of this Order the action will be dismissed without

further notice.

       DATED April 24, 2018, at Denver, Colorado.

                                        BY THE COURT:

                                        s/Gordon P. Gallagher
                                        United States Magistrate Judge




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